       Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 1 of 22



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


JEFFREY J. BERNHARDT

                        Plaintiff,
                                                             NOTICE OF REMOVAL OF
vs.
                                                             ACTION (28 U.S.C. §144l(b))
                                                             Federal Cause of Action
COUNTY OF ERIE,
DEPUTY JOHN DUNN, DEPUTY PAUL REED,
DEPUTY KENNETH P. ACHTYL,

                        Defendants.



TO THE CLERK OF THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK:


PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§1441(b) and 1446, defendants, THE
COUNTY OF ERIE, DEPUTY JOHN DUNN, DEPUTY PAUL REED, DEPUTY KENNETH
P. ACHTYL, hereby remove to this Court the civil action filed in the Supreme Court of the State
of New York, County of Erie, as described below.


       On September 13, 2019, plaintiff, JEFFREY J. BERNHARDT, filed a civil action

entitled, JEFFREY J. BERNHARDT against COUNTY OF ERIE, DEPUTY JOHN DUNN,

DEPUTY PAUL REED, DEPUTY KENNETH P. ACHTYL, under Case Index Number

811793/201 9. The individually named defendants are purported to be those Erie County

Sheriff's Department deputies currently identified by the Plaintiff as alleged to have been

involved in the circumstances underlying this litigation.

       On or about September 20, 2019, COUNTY OF ERIE, DEPUTY JOHN DUNN,

DEPUTY PAUL REED and DEPUTY KENNETH P. ACHTYL were served with the Summons

and Complaint in the above-referenced state court action. A copy of the summons and complaint

in the state court action is attached hereto as Exhibit "A". A copy of Defendants' answer in the

state court action is attached as Exhibit B".


                                                                                              Pg. I of4
       Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 2 of 22



        No further proceedings have been had in the state court action. Plaintiffs Complaint

contains a cause of action pursuant to 42 U.S.C. $1983, against the COUNTY OF ERIE,

DEPUTY JOHN DUNN, DEPUTY PAUL REED, and DEPUTY KENNETH P. ACHTYL,

alleging a "use and exercise of unreasonable force against Plaintiff in violation of the Fourth and

Fourteenth Amendments", as alleged within the Complaint.

        Accordingly, this Court has original jurisdiction over the state court action under 28

U .S.C. $1331 (federal question) because it is a civil action that arises under the Constitution,

laws, or treaties of the United States.

       No previous application has been made for the relief requested herein.



DATED:         Buffalo, New York
               September 30, 2019

                                                 Respectfully submitted,

                                                 MICHAEL A. SIRAGUSA
                                                 Erie County Attorney and Attorney for
                                                 Defendants,

                                                By: Isl ANTHONY B. TAR GIA
                                                ANTHONY B. TARGIA
                                                Assistant County Attorney, of Counsel
                                                95 Franklin Street, Room 1634
                                                Buffalo, New York 14202



TO:    Emily F. Janicz, Esq.
       Attorneys for Plaintiff
       800 Cathedral Park Tower
       37 Franklin Street
       Buffalo, New York 14202
       (716) 854-2100




                                                                                             Pg. 2 of4
     Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 3 of 22




Index of Documents

                           Filed in State Court, Prior to Removal

Document                                                            Date of Filing

A. Summons and Complaint                                            September 13, 2019

B. Answer                                                           September 27, 2019




                                                                                     Pg. 3 of4
Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 4 of 22




          EXHIBIT A
              Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 5 of 22
(FILED:   ERIE COUNTY CLERK 09/13/2019 02:30 PM]                                      INDEX NO.   811793/2019
NYSCEF DOC. NO.   1                                                            RECEIVED NYSCEF:      09/13/2019




          STATE OF NEW YORK
          SUPREME COURT : COUNTY OF ERIE


          JEFFREY J. BERNHARDT
          7455 Crumb Hill Road,
          East Otto, New York 14729.

                                       Plaintiff,               SUMMONS

                       -VS.-


          COUNTY OF ERIE
          95 Franklin Street
          Buffalo, New York 14202

          DEPUTY JOHN DUNN
          10 Delaware A venue
          Buffalo, New York 14202

          DEPUTY PAUL REED
          10 Delaware Avenue
          Buffalo, New York 14202

          DEPUTY KENNETH P. ACIITYL
          1 0 Delaware A venue
          Buffalo, New York 14202

                                       Defendants




          TO THE ABOVE-NAMED DEFENDANT(S):

                YOU ARE HEREBY SUMMONED AND REQUIRED to serve upon the Plaintiffs
          Attorney, at the address stated below, a written Answer to the attached Complaint.

                 If the Summons is served upon you within the State of New York by personal
          service you must respond within TWENTY (20) days after service, not counting the day of
          service. If the Summons is not personally delivered to you within the State of New York,
          you must respond within THIRTY (30) days after service is completed, as provided by law.

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                                                    1 of 9
              Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 6 of 22
FILED: ERIE COUNTY CLERK 09/13/2019 02:30 PM]                                          INDEX NO.    811793/2019
NYSCEF DOC. NO.   1                                                              RECEIVED NYSCEF:    09/13/2019




                 lf you do not respond to the attached Complaint within the applicable time
         limitation stated above a Judgment will be entered against you, by default for the relief
         demanded in the Complaint, without further notice to you.


                  The action is brought in the COUNTY OF ERIE because:

                  X     Plaintiff's residence, or place of business;

                  X     Defendants' residence;

                  X     Designation made by Plaintiff.


         Dated:         September 13, 2019
                        Buffalo, New York




                                                     Ao
                                                     800 Cath        ar}  ower
                                                     37 Frankli. Street
                                                     Buffalo, N     14202
                                                     Phone: (716) 854-2100




                                                         2


                                                      2 of 9
             Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 7 of 22
(FILED: ERIE COUNTY CLERK 09/13/2019 02:30 PM]                                               INDEX NO.    811793/2019
NYSCEF DOC. NO.   1                                                                   RECEIVED NYSCEF:        09/13/2019




         STATE OF NEW YORK
         SUPREME COURT : : COUNTY OF ERIE

         JEFFREY J. BERNHARDT
                                       Plaintiff,
                                                                            COMPLAINT
                  -against-                                                 Index No.:

         COUNTY OF ERIE,
         DEPUTY JOHN DUNN,
         DEPUTY PAUL REED, and
         DEPUTY KENNETH P. ACHTYL
                              Defendants.




                The plaintiff, JEFFREY J. BERNHARDT, by his attorneys, LEWIS & LEWIS, P.C., for
         his complaint against the defendants herein, alleges, upon information and belief that:

                                                INTRODUCTION:

                  This Action arises out of the assault, battery, unlawful search and seizure and unlawful
         an-est of Plaintiff by deputies John Dunn, Paul Reed and Kenneth P. Achtyl of the Erie County
         Sheriff's Department, while such deputies were acting within the scope of their employment and
         under color of law. This lawsuit seeks justice and fair compensation for Plaintiff with regard to
         the above-referenced assault, battery, intentional infliction of emotional distress, false
         imprisonment, false arrest, recklessness, negligence, negligent training, negligent supervision,
         failure to instruct and train, and deprivation of civil rights under color of state law.

                              ALLEGATIONS COMMON TO ALL CAUSES OF
                                 ACTION I .JURISDICTION AND VENUE:

                  1.     The plaintiff is a resident of the Town of East Otto, County of Erie, State of New
         York.

                2.     The defendant, COUNTY OF ERIE, was and still is a municipal corporation
         organized and existing pursuant to the laws of the State of New York.

                 3.      At all times herein after mentioned, defendant, COUNTY OF ERIE maintained
         responsibility, supervision, control and authority over the Erie County Sheriff's Department, its
         agents, servants and employees, and is vicariously liable for the acts complained of herein.


                                                         3


                                                       3 of 9
               Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 8 of 22
(FILED:   ERIE COUNTY CLERK 09/13/2019 02:30 PM]                                                INDEX NO. 811793/2019
NYSCEF DOC. NO. 1                                                                      RECEIVED NYSCEF: 09/13/2019




                4.      Defendant JOHN DUNN (hereinafter, "DUNN") was and is a resident of the
          County of Erie and State of New York.

                5.      Defendant PAUL REED (hereinafter, "REED") was and is a resident of the
          County of Erie and State of New York.

                  6.      Defendant KENNETH P. ACHTYL (hereinafter, ACHTYL") was and is a
          resident of the County of Erie and State of New York.

                 7.       On or about June 14, 2018, Defendants DUNN, REED, and ACHTYL were
          acting within the scope of their employment as Erie County Sheriff's Deputies and were acting
          under color of state law.

                 8.     Defendants DUNN, REED and ACHTYL are being sued both in their official and
          personal capacities.

                 9.   On September 12, 2019, a Notice of Claim was served on behalf of the plaintiff,
          upon the COUNTY OF ERIE, DEPUTY JOHN DUNN, DEPUTY PAUL REED and DEPUTY
          KENNETH P. ACHTYL in accordance with Section 50e of the General Municipal Law.

                 10.     That Defendants have failed or neglected to adjust or pay the claim.

                                AS AND FOR A FIRST CAUSE OF ACTION
                            AGAINST DEFENDANTS DUNN, REED and ACHTYL
                           FOR ASSAULT AND BATTERY PLAINTIFF ALLEGES:

                  11.    On or about June 14, 2018, while plaintiff lawfully operated his vehicle on Route
          219 (at approximately 14445 Route 219 ST also known as South Cascade Street) in the Town
          of Springville, County of Eric and State of New York, defendant DUNN, while in the course of
          his employment with the Erie County Sheriffs Department and acting under authority of the
          COUNTY OF ERIE and under color of state law, caused injury to Plaintiff by willfully,
          wantonly, recklessly, intentionally, and/or negligently committing an assault and battery upon
          him.

                  12.     On or about June 14, 2018, while plaintiff lawfully operated his vehicle on Route
          219, (at approximately 14445 Route 219 ST- also known as South Cascade Street) in the Town
          of Springville, County of Erie and State of New York, defendant REED, while in the course of
          his employment with the Erie County Sheriff's Department and acting under authority of the
          COUNTY OF ERIE and under color of state law, caused injury to Plaintiff by willfully,
          wantonly, recklessly, intentionally, and/or negligently committing an assault and battery upon
          him.

                  13.     On or about June 14, 2018, while plaintiff lawfully operated his vehicle on Route
          219, (at approximately 14445 Route 219 ST- also known as South Cascade Street) in the Town
          of Springville, County of Erie and State of New York, defendant ACHTYL, while in the course
          of his employment with the Erie County Sheriffs Department and acting under authority of the
          COUNTY OF ERIE and under color of state law, caused injury to Plaintiff by willfully,


                                                          4


                                                        4 of 9
               Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 9 of 22
(FILED:   ERIE COUNTY CLERK 09/13/2019 02:30                               PM                      INDEX NO.    811793/2019
NYSCEF DOC. NO.   1                                                                        RECEIVED NYSCEF:         09/13/2019




          wantonly, recklessly, intentionally, and/or negligently committing an assault and battery upon
          him; falsely arresting him; and/or falsely imprisoning him.

                  14.     Plaintiff did not consent to the assault and/or battery.

                 15.     That defendant, REED, failed to intervene to prohibit the assault, battery,
          unlawful arrest and/or detention of Plaintiff from occurring.

                 16.     That defendant, ACHTYL, failed to intervene to prohibit the assault, battery,
          unlawful arrest and/or detention of Plaintiff from occurring.

                  17.    Defendant, REED, participated in the aforementioned assault, battery, unlawful
          arrest and detention, and in all of the illegal, negligent, careless, reckless and intentional acts set
          forth herein.

                  18.     Defendant, ACHTYL, participated in the aforementioned assault, battery,
          unlawful arrest and/or detention, and in all of the illegal, negligent, careless, reckless and
          intentional acts set forth herein.

                  19.     After the unlawful arrest, defendants, DUNN, REED and/or ACHTYL took
          custody of the plaintiff and brought Plaintiff to the Erie County Holding Center, all without
          plaintiff's consent, where Plaintiff remained confined in the custody of the Defendants.

                  20.    As a result of the aforesaid incident, Plaintiff suffered certain severe, pennanent
          and painful injuries, internal as well as external, was rendered sick, sore, lame and disabled,
          sustained pain and suffering and shock to the nerves and nervous system, was caused to seek
          medical aid and attention, was caused to and did incur great medical expense, will be compelled
          to spend large sums of money for future medical expenses, was caused to incur legal expenses,
          and was caused to be incapacitated from performing his usual activities.

                  21.     That as a result of the foregoing, Plaintiff sustained general and special damages
          and is entitled to an award of punitive damages in an amount that exceeds the jurisdictional
          limits of all lower courts which would otherwise have jurisdiction.

                            AS AND FOR A SECOND CAUSE OF ACTION AGAINST
                        ALL DEFENDANTS FOR FALSE ARREST PLAINTIFF ALLEGES:


                  22.    Plaintiff repeats and realleges each and every allegation contained herein in
          paragraphs "1" and "21" of the Complaint with the same force and effect as if fully set forth
          herein.

                  23.     On or about June 14, 2018, defendants DUNN, REED, and/or ACHTYL while
          acting in the course and scope of their employment with Erie County Sheriff's Department and
          while under color of authority of the defendant COUNTY OF ERIE, falsely arrested and
          imprisoned Plaintiff following an illegal traffic stop and without authority of law or probable
          cause therefor.


                                                             5


                                                           5 of 9
             Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 10 of 22
FILED:   ERIE COUNTY CLERK 09/13/2019 02:30 PM]                                                INDEX NO. 811793/2019
NYSCEF DOC. NO. 1                                                                      RECEIVED NYSCEF: 09/13/2019




                  24.     Plaintiff committed no crime or violation of law on June 14, 2018, and any and all
         actions and omissions taken against Plaintiff by or on behalf of the Defendants to seize, assault,
         strike, kick, throw, detain and/or arrest Plaintiff were illegal.

                25.     Defendant DUNN intended to confine Plaintiff.

                26.     Defendant DUNN negligently confined Plaintiff.

                27.     Defendant REED intended to confine Plaintiff.

                28.     Defendant REED negligently confined Plaintiff.

                29.     Defendant ACHTYL intended to confine Plaintiff.

                30.     Defendant ACHTYL negligently confined Plaintiff.

                31.     Plaintiff was conscious of the confinement and arrest.

                32.     Plaintiff's confinement was not privileged and/or supported by probable cause.

                33.     Plaintiff remained in confinement for a substantial period of time.

                34.     The charges levied by defendants were dismissed.

                35.      As a result of the false arrest and imprisonment, Plaintiff suffered certain severe,
         permanent and painful injuries, internal as well as external, was rendered sick, sore, lame and
         disabled, sustained pain and suffering and shock to the nerves and nervous system, was caused to
         seek medical aid and attention, was caused to and did incur great medical expense, will be
         compelled to spend large sums of money for future medical expenses, was caused to incur legal
         expenses, and was caused to be incapacitated from performing his usual activities.

                 36.      That as a result of the foregoing, Plaintiff sustained general and special damages
         and is entitled to an award of punitive damages in an amount that exceeds the jurisdictional
         limits of all lower courts which would otherwise have jurisdiction.

                          AS AND FOR A THIRD CAUSE OF ACTION AGAINST
                      ALL DEFENDANTS FOR NEGLIGENT HIRING, SUPERVISION,
                          TRAINING AND RETENTION PLAINTIFF ALLEGES:

                 37.   Plaintiff repeats and realleges each and every allegation contained in paragraphs
         "1" through "36" of the Complaint with the same force and effect as if fully set forth herein.

                38.     That on or about June 14, 2018, defendant COUNTY OF ERIE, its agents,
         servants and/or employees, including Erie County Sheriff's Department and defendants DUNN,
         REED AND ACHTYL, individually and in their official capacities, were careless, reckless and
         negligent in conducting and performing police duties including, without limitation, the negligent
         use of force in detaining, arresting and confining Plaintiff; in carelessly, recklessly and
         negligently investigating the incident leading to Plaintiff's arrest and confinement; in violating

                                                          6


                                                        6 of 9
             Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 11 of 22
FILED: ERIE COUNTY CLERK 09/13/2019 02:30 PM]                                                 INDEX NO.    811793/2019
NYSCEF DOC. NO.   1                                                                   RECEIVED NYSCEF:         09/13/2019




         established rules, procedures and policies; and in negligently employing, supervising, training
         and retaining as employees members of the Erie County Sheriffs Department, including
         defendants DUNN, REED AND ACHTYL.

                 39.    As a result of the foregoing, Plaintiff suffered certain severe, permanent and
         painful injuries, intemal as well as external, was rendered sick, sore, lame and disabled,
         sustained pain and suffering and shock to the nerves and nervous system, suffered loss of
         freedom, suffered humiliation and embarrassment, suffered emotional and mental distress, was
         caused to seek medical aid and attention, was caused to and did incur great medical expense, will
         be compelled to spend large sums of money for future medical expenses, was caused to incur
         legal expenses, and was caused to be incapacitated from performing his usual activities.

                 40.     That as a result of the foregoing, Plaintiff sustained general and special damnages
         and is entitled to an award of punitive damages in an amount that exceeds the jurisdictional
         limits of all lowcr courts which would otherwise have jurisdiction.

                              AS AND FOR A FOURTH CAUSE OF ACTION
                            AGAINST ALL DEFENDANTS FOR VIOLATION OF
                             PLAINTIFF'S STATE LAW CONSTITUTIONAL
                                   RIGHTS PLAINTIFF ALLEGES:

                41.     Plaintiff repeats and reallegcs paragraphs "1" through "40" of this Complaint with
         the same force and effect as if fully set forth herein.

                42.    That on June 14, 2018, defendant COUNTY OF ERIE, its agents, servants and/or
         employees, including the Erie County Sheriffs Department, and defendants, DUNN, REED
         AND ACHTYL, individually and in their official capacities, while acting under color of law
         deprived Plaintiff of his state constitutional rights including the right to due process of law,
         freedom of speech and security against unreasonable searches and seizures as set forth above.

                43.    That as a result of the foregoing, Plaintiff seeks an award of general, special and
         punitive damages in an amount that exceeds the jurisdictional limits of all lower courts which
         would otherwise have jurisdiction.

                           AS AND FOR A FIFTH CAUSE OF ACTION AGAINST
                             DEFENDANTS DUNN, REED AND ACIITYL FOR
                           MALICIOUS PROSECUTION, PLAINTIFF ALLEGES:

                44.     Plaintiff repeats and rcalleges paragraphs "1" through "43° of this Complaint as
         though fully set forth herein.

                45.    Following the assault, battery, use of excessive force, unlawful arrest, false
         imprisonment, defendants DUNN, REED AND/OR ACHTYL caused the commencement of
         criminal proceedings against Plaintiff by executing and filing various state law
         informations/complaints.

                 46.    At the time the defendants DUNN, REED AND/OR ACHTYL cxccutcd and/or
         filed instruments Defendants knew that Plaintiff was not guilty of the charges or of any crime or
                                                          7


                                                       7 of 9
              Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 12 of 22
(FILED:   ERIE COUN TY CLERK               09/13/2019           02:30     PM]                     INDEX NO.    811793/2019
NYSCEF DOC. NO.   1                                                                       RECEIVED NYSCEF:         09/13/2019




          violation of law and Defendants knew that the instruments executed were without probable cause
          or any other justification.

                47.     In creating, drafting, executing and filing said accusatory instruments Defendants
          committed perjury.

                  48.    Defendants DUNN, REED AND ACHTYL executed and filed the instruments
          out of malice and in retaliation against Plaintiff.

                49.   Plaintiff was required to retain counsel as a resull of the charges filed in Concord
          Town Court.

                  50.    The charges were terminated in favor of Plaintiff on approximately July 9, 2019.

                 51.    That as a result of the foregoing, Plaintiff seeks an award of general, special and
          punitive damages in an amount that exceeds the jurisdictional limits of all lower courts which
          would otherwise have jurisdiction.

                                 AS AND FOR A SIXTH CAUSE OF ACTION
                               AGAINST ALL DEFENDANTS FOR VIOLATION
                              OF 42 USC SECTION 1983, PLAINTIFF ALLEGES:

                 52.     Plaintiff repeats and realleges paragraphs "l" through "51" of the Complaint with
          the same force and effect as if fully set forth herein.

                  53.     That on or about June 14, 2018, defendant COUNTY OF ERIE, its agents,
          servants, and/or employees, including the Erie County Sheriff's Department and defendants
          DUNN, REED and ACHTYL, individually, officially, and in concert, used and or participated in
          and/or condoned the use and exercise of unreasonable and excessive force against Plaintiff in
          violation of the Fourth and Fourteenth Amendments to the Constitution of the United States in
          violation of 42 USC Section 1983.

                  54.     That on or about June 14, 2018, defendant COUNTY OF ERIE, its agents,
          servants, and/or employees, including the Erie County Sheriff's Department and Defendants
          DUNN, REED and ACHTYL, individually and in their official capacities, while acting under
          color of state law deprived Plaintiff of his sate and federal constitutional rights, including but not
          limited to the right to due process of law, freedom of speech and security against unreasonable
          searches and seizures.

                  55.     That the violations set forth in paragraphs 53° and 54° above resulted from and
          out of the customs and practices of the Erie County Sheriff's Department and out of the scope of
          employment and duties within the Erie County Sheriffs Department.

                 56.   That defendant, COUNTY OF ERIE is responsible and liable for the conduct of
          defendants DUNN, REED and ACHTYL including the violations set forth in paragraphs 53°,
          «54° and55" above.




                                                            8


                                                         8 of 9
             Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 13 of 22
FILED: ERIE COUNTY CLERK 09/13/2019 02:30 PM]                                                 INDEX NO.    811793/2019
NYSCEF DOC. NO.   1                                                                     RECEIVED NYSCEF:       09/13/2019




                57.     That through the above-referenced conduct the defendant, COUNTY OF ERIE,
         its agents servants and/or employees including the Eric County Sheriff's Department and
         defendants DUNN, REED and ACHTYL, deprived Plaintiff of liberty without due process of
         law; denied Plaintiff the right to equal protection of the laws pursuant to the Fourteenth
         Amendment; denied Plaintiff substantive due process of law pursuant to the Fourth and
         Fourteenth Amendments; and denied Plaintiff the right not to be searched, arrested, and
         criminally prosecuted without probable cause pursuant to the Fourth and/or Fourteenth
         Amendments.

                 58.    As a result of the foregoing, Plaintiff suffered certain severe, permanent and
         painful injuries, internal as well as external, was rendered sick, sore, lame and disabled,
         sustained pain and suffering and shock to the nerves and nervous system, as well as loss of
         freedom, humiliation, loss of freedom, embarrassment, emotional and mental distress, and was
         caused to seek medical aid and attention, was caused to and did incur great medical expense, will
         be compelled to spend large sums of money for future medical expenses, was caused to incur
         legal expenses, and was caused to be incapacitated from performing his usual activities.

                59.     That Plaintiff's injuries and damages were caused solely by reason of the culpable
         conduct of the Defendants without any fault or negligence on the part of the Plaintiff.

                 60.      That as a result of the foregoing, Plaintiff sustained general and special damages
         and is entitled to an award of punitive damages in an amount that exceeds the jurisdictional
         limits of all lower courts which would otherwise have jurisdiction.

                 WHEREFORE, the Plaintiff demands judgment against the Defendants, jointly and
         severally, in a sum which exceeds the jurisdiction of all lower courts which would otherwise
         have jurisdiction in this action, including punitive damages as well as reasonable attorneys' fees
         on the Sixth Cause of Action, together with such other further and different relief as is deemed
         just and proper and the costs and disbursements incurred in the prosecution of this action.

         Dated:         September 13, 2019
                        Buffalo, New York




                                                                                    '   SQ.
                                                      Attor
                                                      800 C.      ral Park Tower
                                                      37 Franklin Street
                                                      Buffalo, NY     14202
                                                      Phone: (716) 854-2100
                                                      (File No. 18-00978)




                                                          9


                                                       9 of 9
          Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 14 of 22


SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF ERIE
------------------------------------------------------------------x
JEFFREYJ.BERNHARDT

                                   Plaintiff/Petitioner,

                 - against -                                          Index No.811793/2019

COUNTY OF ERIE, ET AL
                                   Defendant/Respondent.
----------------------------------------------------------------.-x
                                        NOTICE OF ELECTRONIC FILING
                                               (Mandatory Case)
                                            (Uniform Rule $ 202.5-bb)

        You have received this Notice because:

                 1) The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
                 New York State Courts E-filing system ("NYSCEF"), and

                 2) You are a Defendant/Respondent (a party) in this case.

         • If you are represented by an attorney:
           Give this Notice to your attorney. (Attorneys: see "Information for Attorneys" pg. 2).

         • If you are not represented by an attorney:
           You will be served with all documents in paper and you must serve and file your
           documents in paper, unless you choose to participate in e-filing.

           If you choose to participate in e-filing, you must have access to a computer and a
           scanner or other device to convert documents into electronic format, a connection
           to the internet, and an e-mail address to receive service of documents.

           The benefits of participating in e-filing include:

                          • serving and filing your documents electronically

                          • free access to view and print your e-filed documents

                          • limiting your number of trips to the courthouse

                          • paying any court fees on-line (credit card needed)

        To register fore-filing or for more information about how e-filing works:

        • visit: www.nycourts.gov/efile-unrepresented or
        • contact the Clerk's Office or Help Center at the court where the case was filed. Court
         contact information can be found at www.nycourts.gov


                                                       Page 1 of 2                   EFM-T
         Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 15 of 22


        To find legal information to help you represent yourself visit www.nycourthelp.gov

                                       Information for Attorneys
                                (E-filing is Mandatory for Attorneys)

        An attorney representing a party who is served with this notice must either:

                1) immediately record his or her representation within the e-filed matter on the
                NYSCEF site www.nycourts.gov/efile ; or

                2) file the Notice of Opt-Out form with the clerk of the court where this action is
                pending and serve on all parties. Exemptions from mandatory e-filing are limited to
                attorneys who certify in good faith that they lack the computer hardware and/or
                scanner and/or internet connection or that they lack (along with all employees subject
                to their direction) the knowledge to operate such equipment. [Section 202.5-bb(e)]

        For additional information about electronic filing and to create a NYSCEF account, visit the
        NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center
        (phone: 646-386-3033; e-mail: efile@nycourts.gov).


Dated: SEPTEMBER 13, 2019


EMILY F. JANICZ, ESQ.                                      37 FRANKLIN STREET, SUITE 800
           Name                                                       Address

 LEWIS & LEWIS, P.C.                                       BUFFALO NY 14202
           Firm Name

                                                           716-854-2100
                                                                       Phone

                                                           EJANICZ@LEWISLAW.COM
                                                                     E-Mail


To:     CTY OF ERIE, DEP JOHN

        DUNN DEP PAUL REED

        DEP KENNETH ACHTYL




                                                                                      6/6/18


      Index #                                Page 2 of 2                           EFM-1
Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 16 of 22




         EXHIBIT B
YSCEF DOC. NO.      6                                                   RECEIVED NYSCEF:                         09/27/201
                   Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 17 of 22


                                        STATE OF NEW YORK
                                  SUPREME COURT : COUNTY OF ERIE


        JEFFREY J. BERNHARD'T
                                                                                             ANSWER
                                    Plaintiff,
                                                                                       Index No. 811793 / 2019
        Vs.

        COUNTY OF ERIE,
                                                                              TRIAL BY JURY DEMANDED
        DEPUTY JOHN DUNN,
        DEPUTY PAUL REED, and
        DEPUTY KENNETH P. ACHTYL,

                                    Defendants.



                   The Defendants, COUNTY OF ERIE, DEPUTY JOHN DUNN. DEPUTY PAUL

        REED, and DEPUTY KENNETH P. ACHTYL, by and through their attorney,MICHAEL A.

        SIRAGUSA, ESQ.. ERIE COUNTY ATTORNEY, by ANTHONY B. TARGIA, ESQ., Assistant County

        Attorney, of counsel answer the Complaint herein as set forth below:


              I.        Admit the allegations contained in paragraph 2.

              2.        Deny each and every allegation contained in paragraph(s) numbered 3, 10,11, 12, 13,

        15, 16.17,18, 19,20,21,22,23,24,25, 26,27, 28, 29, 30, 33, 35,36,37, 38, 39, 40,41, 42, 43,

        44, 45,46,48, 51, 52, 54, 55, 56, 57, 58, 59, and 60 of the plaintiff s complaint.
                                                         .                         .

              3.        Deny knowledge or information sufficient to form a beliefwith regards to the

        allegations in paragraphs 1,4, 5,6,8, 9,14, 31, 34, 49, and 50 of the plaintiff's complaint.

              4.        Neither admit nor deny the allegations contained within paragraph(s) numbered 7, 32,

        47, and 53 of the plaintiffs complaint in that same call for legal conclusions. To the extent that

        these allegations do not call for legal conclusions, the answering defendants deny knowledge or

        information as to same,




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YSCEF DOC. NO. Case
                6   1:19-cv-01334-JLS-HKS                                      RECEIVED
                                                     Document 1 Filed 09/30/19 Page 18 ofNYSCEF:
                                                                                          22     09/27/201



            5.        Deny knowledge or information as to any allegations not heretofore addressed,

                        AS AND FOR A FIRST DEFENSE TIE DEFENDANTS ALLEGE :

            6.        Upon information and bclicf, plaintiffs Complaint wholly fails to state a claim upom

         which relief may be granted.

                     AS AND FOR A SECOND DEFENSE TIIE DEFENDANTS ALLEGE :

            7.       Plaintiff has failed to comply with the mandatory notice of claimrequirements of

        New York State General Municipal Law as are applicable to any possible pendent State claims

        asserted in plaintiffs Complaint. Therefore, any pendent State claims asserted in plaintiff s

        Complaint must be dismissed.

                      AS AND FOR A THIRD DEFENSE THE DEFENDANTS ALLEGE :

            8. The plaintiff may not recover punitive damages or exemplary damages against the

                  defendants herein.

                    AS AND FOR A FOUIRTIH DEFENSE TIHE DEFENDANTS ALLEGE :

            9.       The defendants are immune in the instant suit from any liability to plaintiff for

        damages, since the said defendants acted towards plaintiff in good faith and with an objectively

        reasonable belief that their actions were lawful and not in violation of any of plaintiffs clearly

        established constitutional rights. Consequently, plaintiff s claims must be dismissed.

                     AS AND FOR A FIETH _DEFENSE THE DEFENDANTS ALLEGE :

            10.      Upon information and belief, plaintiff s causes of action in the Complaint are barred

        by the applicable Statutes of Limitation and/or applicable filing deadlines.

                     AS AND FOR A SIXTII DEFENSE THE DEFENDANTS ALLEGE :

            IL.      The injuries and/or damages alleged in plaintiffs Complaint were caused or were

        contributed to, in whole or in part, by the culpable conduct, want of care, and/or assumption of




                                                       9   of   A
YSCEF DOC. NO. 6                                                       RECEIVED
                  Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 19 ofNYSCEF:
                                                                                  22                          09/27/201




        risk on the part of the plaintiff and without any negligence, fault, or want of care on the part of

         the defendants.

                    AS AND FOR A SEVENTII DEFENSE THE DEFENDANTS ALLEGE :

             I2.     Lack of personal jurisdiction and lack of service of process.

                     AS AND FOR A EIGIHTIH DEFENSE THE DEFENDANTS ALLEGE :


             I3.     Upon information and belief, all or some of the Plaintiffs economic loss has been or

        with reasonable certainty will be replaced or indemnified by collateral sources, and, to the full

        extent of such replacement or indemnification, these answering defendants request and demand

        that any judgment, award or verdict obtained by the Plaintiff be reduced accordingly, as provided

        for by $ 4545 of the New York Civil Practice Law and Rules,

                       AS AND FOR A NINTH DEFENSE TIE DEFENDANTS ALLEGE :

            14.      The Defendant, COUNTY OF ERIE cannot be held vicariously liable to the Plaintiff.

                       AS AND FOR A TENTH DEFENSE TIIE DEFENDANTS ALLEGE :

            15.      The actions of the Defendants herein constitute discretionary acts which render the

        Defendants immune from liability to the Plaintiff under a theory of quasi-judicial immunity.

                     AS AND FOR A ELEVENTH DEFENSE THE DEFENDANTS ALLEGE :

            16.      No special duty or special relationship existed as between the Plaintiff and the

        defendants herein. The "public duty" rule, sometimes alternatively referred to as the

        governmental function immunity " doctrine, constitutes a complete bar to the Plaintiff s action

        as against the Defendants.

                     AS AND FOR A TWELVTH DEFENSE THE DEFENDANTS ALLEGE :

            17.      The Plaintiff has failed to mitigate damages herein.




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YSCEF DOC. NO.    6                                                   RECEIVED NYSCEF:                       09/27/201
                 Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 20 of 22


             18.      These Answering Defendants reserve the right to assert additional defenses

         throughout this litigation as discovery progresses.



                                                  JURY DEMAND

                      A trial by jury is hereby demanded.



                   WHEREFORE, defendant requests that:

            (A)       Each count, claim, and cause of action in plaintiffs Complaint be dismissed; and for

            (B)       Such other and further relief as this Court deems just and proper under the

        circumstances.

        DATED:           September 27, 2019
                         Buffalo, New York

                                                        Yours, cte.

                                                        MICHAEL A. SIRAGUSA.
                                                        Erie County Attorney and Attorney for Defendant,
                                                        Sergeant David Webster


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                                                                          g»     ~-             .
                                                                 NT!zy B. TARGIA, ~
                                                        Assistant County Attorney, of Counsel
                                                        95 Franklin Street, Suite 1634
                                                        Buffalo, New York, 14202
                                                        (716) 858-2200




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                   Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 21 of 22
               NYSCEF - Erie County Supreme Court
               Confirmation Notice
               The NYSCEF website has received an electronic filing on 09/27/2019 10:59 AM. Please keep this notice
               as a confirmation of this filing.
                                                           811793/2019
                                          Jeffrey J Bernhardt v. County of Erie et al
                                               Assigned Judge: None Recorded



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               Doc#          Document Type
               6             ANSWER




                Filing User
                Anthony B. Targia I Anthony.targia@erie.gov
                95 Franklin St Ste 1634, Buffalo, NY 14202



                E-mail Notifications
                An email regarding this filing has been sent to the following on 09/27/2019 10:59 AM:


                   MICHAEL T. COUTU - mcoutu@lewislaw.com
                   EMILY F. JANICZ - ejanicz@lewislaw.com
                   ANTHONY B. TARGIA - Anthony.targia@erie.gov




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                                                    Page I of I
      Case 1:19-cv-01334-JLS-HKS Document 1 Filed 09/30/19 Page 22 of 22



                                CERTIFICATE OF SERVICE

        I hereby certify that on September 30, 2019 I filed the foregoing with the Clerk of the
District Court and I hereby certify that on September 30, 2019 I mailed the foregoing, by the
United States Postal Service, to the following :

       Emily F. Janicz, Esq.
       Attorneys for Plaintiff
       800 Cathedral Park Tower
       3 7 Franklin Street
       Buffalo, New York 14202




Dated: Buffalo, New York
       September 30, 2019
                                               By: Isl ANTHONY B. T ARGIA
                                               ANTHONY B. TARGIA
                                               Assistant County Attorney, of Counsel
                                               95 Franklin Street, Room 1634
                                               Buffalo, New York 14202
                                               Email: Anthony. Targia@eric.goy




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